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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

United States of America
Plaintiff(s),
VS. Case No.:21-mj-549-SH
Laura Kay Sawyer Criminal Information Sheet
Defendant(s).
Date: 8/9/2021 Interpreter: Yes O No &
Magistrate Judge Jayne Deputy Stephanie Cope USPO J. Basinger
Date of Arrest: 8/9/2021 Arrested By: USM ] Detention Requested by AUSA
Bail Recommendation: Choose an item. L] Unsecured
Additional Conditions of Release:
Oa Ob O!1 Om On Oo Op Og Or Us
Oe Od Or (1, 02, 03, O4 O05, 06,07)
Oe. Ou (O01, 02, 03,04 05,06 07)
Of Og Oh Oi Oj. Ov (01, 02, 03, 04 05, 0607, 08 O9, OC 10)
Ok(Oi, On, OC iii) Ow (O11, 02) C1) x. (other)
Defendant Requests Federal Public Defender/Ct. Appt. Counsel: xX Yes No
Defendant's Attorney: stove Laumon OC) FPD; ac. Appt; L] Ret Counsel
AUSA: David Nasar » DY yd Wh op le-Dy-
MINUTES:
Interpreter: ; O Sworn

A Defendant appears inperson-for IA on: (© Indictment; (© Information; Complaint CJ Petition; © Rule 5

fe Ondo with: © Ret Counsel; ,/O FPD; Ct. Appt; © w/o Counsel
F

inancial Affidavit received and FPD/CJA appointed; Present [J Not Present
Defendant’s name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:

CJ Verified in open court

CJ Corrected by interlineation to
to reflect Defendant’s true and correct name and all previous filings are amended by interlineation to reflect same.
© Unable to verify in open court: [ U.S. Atty. to verify & advise court; [1 Defendant’s Attorney to verify & advise
court;

Waivers executed and filed: | © of Indictment; © of Preliminary Exam; 0 of Detention Hearing; OJ of Rule 5 Hearings

OC Bond set for : Bond and conditions of release
executed

C Government’s Motion for Detention and Detention Hearing filed in open court

© Arraignment held and Defendant pleads Not Guilty; Court accepts plea; 1) Scheduling dates to be mailed to counsel

CJ Initial Appearance continued to: at a.m./p.m.

C1 Arraignment scheduled: ; ! at a.m./p.m.

wr tention Hearing scheduled: 1 IS ia at RilO a.m./p.m)

oh. liminary Exam scheduled: She [2 at Riff) a.m.(p.m.)
Defendant remanded to custody of U.S. Marshal: (Pending further proceeding; ( Pending release on bond for treatment

Mot. for Detention # CU: Ol Granted; © Denied; (Moot Mot. for Hearing #] : (5 Eoanted: J Denied; M Moot

Additional Minutes:

Criminal Information Sheet CR-24 (11/2020)
